Case 1:07-cv-01080-LJO-GSA Document 106 Filed 09/28/09 Page 1 of 15

Steven J. Hassing

California SBN 152125

LAW OFFICES OF STEVEN J. HASSING
425 Calabria Court

Roseville, CA 95747

Telephone: (916) 677-1776

Facsimile: (916) 677-1770

Attorney for Defendant, Northern California

Universal Enterprise Company and Lotus
Developments, L.P.

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

No. 1:07-CV-01080-LJO-GSA

DECLARATION OF STEVEN J.
Plaintiff(s); HASSING IN SUPPORT OF
v. DEFENDANT’S SUMMARY
JUDGMENT MOTION

ROGER MCINTOSH,

NORTHERN CALIFORNIA UNIVERSAL
ENTERPRISES COMPANY, ET AL., DATE: OCTOBER 28, 2009
TIME: 8:30 A.M.
PLACE: COURTROOM 4
Defendant(s).

JUDGE: Lawrence J. O'Neill

I, Steven J. Hassing, declare:
I. I am an attorney licensed to practice before this Court and represent the moving
parties in this summary judgment motion.
2. I have personal knowledge of each fact set forth herein.
3: Attached hereto as Exhibit "A" is a true and correct copy of Tentative Map 6451
and attached as Exhibit "B" is a true and correct copy of Tentative Map 5472. I have

examined both maps very carefully and have highlighted in yellow, the items on Map

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Declaration of Steven J. Hassing in Support of Defendant’s Summary Judgment Motion

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6451 that are not contained on Map 5472. I have highlighted in pink, items on Map 5472
which are not on Map 6451.

4, Attached to the Declaration of Michael Brown, as Exhibit "A" thereto, is a true
and correct copy of a "draft guidance package" prepared by Martin-MclIntosh in
association with The City and Legacy.

5. Page 4 of the draft guidance package, Exhibit "A" to the Declaration of Michael
Brown, provides that MM was to prepare a Master Development Plan in close
cooperation with The City.

6. Page 4 of the draft guidance package, Exhibit "A" to the Declaration of Michael
Brown, provides that MM was to serve as the planner, engineer and consultant.

7. Attached hereto as Exhibit “U” is a true and correct copy of an excerpt from the
December 18, 2008 deposition of Roger McIntosh, (p 156; 2-22).

8. Page 4 of the draft guidance package, Exhibit "A" thereto, provides that Legacy
was to serve as the project applicant.

9. Attached hereto as Exhibit "D" is a true and correct copy of a sworn declaration of
Eugene Martin filed with the Kern County Superior Court on January 5, 2001 in case
227661-JES.

10. Attached hereto as Exhibit "E" is a true and correct copy of excerpts from the
December 18, 2008 deposition of Roger McIntosh, (p 80; 1-25).

11. Attached hereto as Exhibit "F" is a true and correct copy of recorded Parcel Map

O572.

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Declaration of Steven J. Hassing in Support of Defendant's Summary Judgment Motion

Case 1:07-cv-01080-LJO-GSA Document 106 Filed 09/28/09 Page 3 of 15

12. Attached hereto as Exhibit "I" is a true and correct copy of Parcel 1 of Parcel Map
O572.

13. Attached hereto as Exhibit "B" is a true and correct copy of Tentative Map 5472.
14. Attached hereto as Exhibit "G" is a true and correct copy of Final Map 6451.

15. Attached hereto as Exhibits “H” and “T” are true and correct copies of tax deeds to
Parcels 1 and 2 of Parcel Map 9572.

16. Attached hereto as Exhibit "J" is a true and correct copy of excerpts from the
January 28, 2008 deposition of Roger McIntosh. (pp 310; 24- 311; 17).

17. Attached hereto as Exhibit "K" is a true and correct copy of excerpts from the
December 18, 2008 deposition of Roger McIntosh. (p 312; 2-22).

18. Attached hereto as Exhibit "L" is a true and correct copy of excerpts from the
January 28, 2009 deposition of Roger McIntosh. (pp 312; 23- 314; 17).

19. Attached hereto as Exhibit "M" is a true and correct copy of excerpts from the
December 18, 2008 deposition of Roger McIntosh. (pp 186; 8- 188; 13).

20. Attached hereto as Exhibit "N" is a true and correct copy of excerpts from the
December 18, 2008 deposition of Roger McIntosh. (pp 191; 12- 192; 12).

21. Attached hereto as Exhibit "O" is a true and correct copy of excerpts from the
December 18, 2008 deposition of Roger McIntosh. (198; 12-16).

22. Attached hereto as Exhibit "P" is a true and correct copy of an excerpt both the
December 18, 2008 deposition of Roger McIntosh. (pp 196; 22- 197; 22).

23. | Attached hereto as Exhibit "Q" is a true and correct copy of excerpts from the
January 28, 2009 deposition of Roger McIntosh. (315; 3-8).

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Declaration of Steven J. Hassing in Support of Defendant’s Summary Judgment Motion

Case 1:07-cv-01080-LJO-GSA Document 106 Filed 09/28/09 Page 4 of 15

24. Attached hereto as Exhibit "R" is a true and correct copy of excerpts from the
December 18, 2008 deposition of Roger McIntosh. (197; 17-22).

25. Attached hereto as Exhibit "S" is a true and correct copy of excerpts from the
January 28, 2009 deposition of Roger McIntosh. (pp 314; 10- 315;1).

26. Attached hereto as Exhibit "T" is a true and correct copy of excerpts from the
January 29, 2009 deposition of Keith Woodcock, City of Wasco Planning Director for the
period July 2005 to May, 2007. (29; 2-8).

27. Attached hereto as Exhibit "U" is a true and correct copy of excerpts from the
December 18, 2008 deposition of Roger McIntosh. (156; 1-22).

28. Attached hereto as Exhibit "V" is a true and correct copy of excerpts from the
January 29, 2009 deposition of Keith Woodcock, City of Wasco Planning Director for the
period July 2005 to May, 2007. (p 15; 7-18).

30. Attached hereto as Exhibit "X" is a true and correct copy of excerpts from the
December 18, 2008 deposition of Roger McIntosh. (pp 210; 21- 211; 9).

31. Attached hereto as Exhibit "Y" are true and correct copies of excerpts from the
July 2, 2009 deposition of Steven Wong. (pp 67; 4-79; 8 and 103; 22- 120; 2).

32. Attached hereto as Exhibit "Z" are true and correct copies of excerpts from the

January 20, 2009 deposition of Keith Woodcock. (pp 13; 18- 14; 12).

I declare under penalty of perjury under the laws pf the State of California that the
foregoing is true and correct. \y
Dated this 3 day of September, 2009 \ \n
Steven/J. Hhaling :
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Declaration of Steven J. Hassing in Support of Defendant’s Summary Judgment Mation

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CERTIFICATE OF SERVICE

On September 28, 2009, I served the following document:

° DECLARATION OF STEVEN J. HASSING IN SUPPORT OF
DEFENDANT’S SUMMARY JUDGMENT MOTION

The above-named document was served by the following means to the persons as
listed below:

Overnight service via UPS and addressed to:

James Braze

Jeffrey Travis

Borton, Petrini, LLP
1600 Truxtun Avenue

Bakersfield, CA 93301

Chaka Okadigbo
Garcia Calderon Ruiz, LLP
500 South Grand Avenue, Ste. 1100

Los Angeles, CA 90071

William L. Alexander
Alexander & Associates
1925 G Street
Bakersfield, CA 93301

By fax transmission. I faxed the document to the persons at the fax number listed
below. No error was reported by the fax machine that I used. A copy of the record
of the fax transmission is attached.

I declare under penalty of perjury that the foregoing is true and correct.
Dated this 28" Day of September, 2009.

/s/ Kimberley A. Hassing
Kimberley A. Hassing

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Declaration of Steven J. Hassing in Support of Defendant’s Summary Judgment Motion

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Attorneys for Plaintiff, Roger McIntosh
dba McIntosh & Associates

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION

ROGER McINTOSH, Case No. 1:07-CV-01080-LJO-GSA

Plaintiff,
THIRD AMENDED COMPLAINT FOR
Vv. COPYRIGHT INFRINGEMENT; DEMAND

FOR JURY TRIAL
NORTHERN CALIFORNIA UNIVERSAL
ENTERPRISES COMPANY, a California
corporation; LOTUS DEVELOPMENTS,
LLP; THE CITY OF WASCO, a municipal
corporation; DEWALT CM, INC., a
California corporation also doing business as
DEWALT CORPORATION; DENNIS W.
DE WALT, INC., a California corporation
also doing business as DEWALT
CORPORATION; and DOES 1 through 10,
inclusive,

Defendants.

For his complaint against Northern California Universal Enterprises Company
("Universal") Lotus Developments, LLP ("Lotus"), the City of Wasco ("Wasco"), DeWalt CM, Inc.,
also doing business as DeWalt Corporation, and Dennis W. De Walt, Inc., also doing business as
DeWalt Corporation (collectively "DeWalt") (all defendants referred to collectively as,

"Defendants"), Roger McIntosh dba McIntosh & Associates ("Mcintosh") alleges:

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THIRD AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT, DEMAND FOR JURY TRIAL

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NATURE OF THE ACTION

1, This is an action to redress the infringement of McIntosh’s registered
copyrights. Universal, Lotus and Wasco have created a residential subdivision by copying and using
Mclntosh’s copyrighted works and employing a tangible embodiment of the landscape and
subdivision design McIntosh conceived and created and that is the subject of Copyright Registration
Cettificate No. VAU-721-180..

PARTIES AND OTHER IMPORTANT PERSONS

2. _ Plaintiff Roger McIntosh is a civil engineer doing business as McIntosh &
Associates and Associates, a sole proprietorship with its principal place of business at 2001 Wheelan
Court, Bakersfield, CA 93309.

3 Defendant Norther California Universal Enterprises Company, a California
corporation with an address at 2099 Fortune Drive, San Jose, California 95 131, started as a land
development company in 1980 and is now a builder in California’s Central Valley. On information
and belief, Joseph Wu is the founder and head of Northem California Universal Enterprises
Company.

4, Defendant Lotus Developments is a California Limited Partnership with an
address at 300 B Street, Turlock, CA 95380. On information and belief, Joseph Wu is also the
founder and head of Lotus Developments.

5. Defendant City of Wasco is a municipal corporation formed and organized
under the laws of the State of California with an address at 746 Eighth Street, Wasco, CA 93280.

6. The true names and capacities of defendants Does 1 through 10 inclusive are
unknown to plaintiff, who therefore sues said defendants by such fictitious names. Plaintiff is
informed and believes and thereon alleges that each of the defendants herein designated as a Doe is
responsible in some manner for the events and happenings herein referred to and caused injuries
proximately thereby as hereinafter alleged. Plaintiff is informed and believes and thereon alleges
that at all times herein mentioned, each of the defendants was the agent, servant and employee of
each of the remaining defendants, and at all times herein mentioned, each was acting within the
purpose and scope of said agency and employment. Plaintiff is further informed and believes and

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THIRD AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT: DEMAND FOR JURY TRIAL

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thereon alleges that at all times herein mentioned, each of the defendants’ employees was the agent,
servant and employee of each employee’s respective employer, that at all times herein mentioned,
each employee was acting within the purpose and scope of said agency and employment, and that
each defendant has ratified and approved the acts of its agents and employees.

Te The Legacy Group, referred to throughout, is not a defendant in this action
and no longer exists. The Legacy Group was a land development company originally involved in
the development of the property that is the subject of this action.

JURISDICTION AND VENUE

8. This court has subject matter jurisdiction over the claims in this action
pursuant to 28 U.S.C. section 1331, 28 U.S.C. section 1338(a) through (b) and 28 U.S.C.
section 1367.

9. Venue in this judicial district is proper under 28 U.S.C. section 1391(b).

FACTUAL BACKGROUND
McINTOSH & ASSOCIATES

10. For more than 34 years, Roger McIntosh has been engaged in urban planning,
specifically the design of residential subdivisions in community spaces throughout Califomia. In
1980, Mr. McIntosh and Eugene Martin founded Martin-McIntosh Land Surveying.

11. Over the last 27 years, the firm has expanded to offer an array of land-
planning services from civil engineering and landscape architecture to construction management
throughout Central and Southem California, Arizona and Nevada,

12. On May 3, 1999, Roger McIntosh bought out his partner, Mr. Martin, and
Martin-Mclntosh became McIntosh & Associates. Pursuant to the buy-out agreement, the ri ghts and
all works created up to that point by Martin-MclIntosh were assigned to Roger McIntosh.

13. MelIntosh & Associates provides all types of civil engineering services,
specializing in site planning for private developments, residential developments and public works

projects, including infrastructure, subdivision design and oil field facilities.

14, Melntosh & Associates also offers land surveying services, from boundary

surveys to geodetic control surveys.

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THIRD AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT: DEMAND FOR JURY TRIAL

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] CONTRACT WITH THE LEGACY GROUP

2 15. Inor about 1992, McIntosh contracted with the Legacy Group to design and
3 |] supervise the private development and construction ofa subdivision called the Valley Rose Estates
4 || Project (the "Subdivision") on a parcel of land owned by the Legacy Group.

5 16. Specifically, McIntosh contracted to (1) develop the subdivision’s master
6 || plans for water, sewer and drainage systems; (2) develop a phase traffic and circulation plan;
7 || (3) determine boundaries; (4) develop a tentative tract map for the Subdivision; and (5) develop

8 || landscape design unique to the Subdivision.

9 17. According to the contract between McIntosh and the Legacy Group, all work
10 || product McIntosh created for the Subdivision remained his property and McIntosh retained the ri ght
11 || touse the plans without the Legacy Group’s consent, including but not limited to McIntosh’s desi gns
12 || and technical drawings.

13 18. In addition, the Legacy Group agreed that MclIntosh’s designs and technical
14 || drawings were being created exclusively for the Legacy Group and could only be used by the Legacy
15 || Group on the Valley Rose Estates project.

16 19. The contract between McIntosh and the Legacy Group also established that
17 || the agreement between the parties could not be assigned without the written consent of the other
18 |] party.

19 20. The Legacy Group had an agreement with the City of Wasco wherein the City
20 || would pay for the Subdivision project with bond anticipation notes. The Legacy Group was to pay
21 || McIntosh and the contractor from the money it received from the City of Wasco.

22 21. According to the agreement between Wasco and the Legacy Group, the
23 || development agreement expired in 2002 because the improvements were not completed,

24 22, The tentative map for the Valley Rose Estates subdivision, Tract No. 5472,
25 || expired in 2001.

26 THE SUBDIVISION PLANS

oF 23. In accordance with his obligations under the Legacy Group contract,

28 || McIntosh designed the overall layout of the Subdivision, as well as the division of the individual

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plots and common spaces. McIntoshalso created landscape designs for the Subdivision. McIntosh’s
subdivision and landscape designs are depicted in technical drawings ("The Plans") that are the
subject of Copyright Registration Certificate No. VAU-721-180, a true and correct copy of which
is attached as Exhibit "A."

24, McIntosh is the sole author of the subdivision and landscape designs
embodied in the technical drawings.

25. McIntosh is the sole owner of the copyright and the technical drawings. (See
Exhibit "A," Copyright Registration Certificate No. VAU-721-180.)

INITIAL CONSTRUCTION OF THE SUBDIVISION

26. In 1993, McIntosh submitted the Plans to the City of Wasco in order to obtain
a building permit to commence construction on the Subdivision. The City of Wasco subsequently
approved the Plans.

27. Construction of the Subdivision commenced after the City of Wasco approved
the Plans. Several different contractors worked on the construction of the Subdivision, according
to McIntosh’s Plans. McIntosh supervised construction of the Subdivision to ensure that the Plans
were properly implemented.

28. In 1994, the bottom dropped out of the real estate market and the City of
Wasco’s bond anticipation notes lost their value. The City was no longer able to pay the Legacy
Group for the construction on the Subdivision. Consequently, construction on the Subdivision
ceased. The Legacy Group subsequently declared bankruptcy and the City of Wasco purchased the
Subdivision at a tax sale.

DEFENDANTS’ INFRINGEMENT OF MCINTOSH” PLANS

29. On information and belief, in or about December 2004, of defendants Lotus
and Universal purchased the Subdivision, with all the improvements, from the City of Wasco.

30. In or about late 2005 or early 2006, Mr. Wu of Northern Califomia Universal
Bliss Company and Lotus Developments contacted McIntosh and asked if he could use
MelIntosh’s Plans to finish the Subdivision. McIntosh told Mr. Wu that he could use the plans if he
paid for them. Mr. Wu refused to pay the price proposed by McIntosh for use of the Plans.

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THIRD AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT ; DEMAND FOR JURY TRIAL

